 

 

Case 19-21149 Doc16 Filed 09/10/19 Page 1 of 33

Fill in this information to identify your case:

 

 

 

 

Debtor 1 Tobie Jo Morgan
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of
Case number 19-21149
{If known)

 

Official Form 106Sum

 

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file

your original forms, you must fill out a new Summary and check the box at the top of this page.

PEER suremarice Your Assets

1. Schedule A/B: Property (Official Form 106A/B)

Your assets
Value‘of what you own

 

 

 

 

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

1a. Copy line 55, Total real estate, from Schedule AUB coccccsccctececssesceaccesencessesescerssensescesessaescnneecsgesacusensascensnaeceunseresqauaaaraeaeanans $ ___110,000.00_
1b. Copy line 62, Total personal property, from Schedule A/B .....sscsesssssssssrssesceesunssnssceceesstmnnnnestenessenesnsanansnneensgananannnettt $ 1,800.00
1c. Copy line 63, Total of all property on Schedule AVB coccccccsevsccssccscccccscccncsvecsececsscesenseccoasenanenedecessnnseeeausasicepneaeresasaauencoseenanes $ 111,800.00
BRE seomarize Your Liabilities
Your liabilities

Amount you owe

 

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $ __ 130,000.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 0.00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ........seseseseseesesseeeeeeeneesentens $___\
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F ......-..sseeeseee eects +5 0.00
Your total liabilities $ 130,000.00
ey summarize Your Income and Expenses
4. Schedule I: Your income (Official Form 1061)
. $ 2,070.17
Copy your combined monthly income from line 12 Of SCHECUIe | oeccccsecccccesscssenensececsseceesconscascennsessasensceeerteaeseouansaneeonaeenssaanen ———
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c OF SCHECUIC J oecccecccecccsssssscscccsesssecnseereesessnsusececnensseeensanoessagensensseeatacseeeaennegentanees $ ___ 1,318.69

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 1 of 2

 

 

 

 
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Debtor 1 Tobie Jo Morgan Case number (if known). 19-21149

 

First Name Middle Name Last Name

| Part 4: Answer These Questions for Administrative and Statistical Records

 

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

A) Yes

(J No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

 

7. What kind of debt do you have?

this form to the court with your other schedules.

wi Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

C) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

 

 

 

 

 

 

 

 

 

 

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 2,070.71
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Total claim
From Part 4:0n Schedule E/F, copy the following:

9a. Domestic support obligations (Copy fine 6a.) ss ——~i.00

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) s__—«.00

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) s____ =~.

9d. Student loans. (Copy line 6f.) s_____—0.00

Ye. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00

priority claims. (Copy line 6g.) TT _
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 0.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 

 

 
Case 19-21149 Doc16

Fill in this information to identify your case and this filing:

Debtor 4 Tobie Jo

 

Filed 09/10/19 Page 3 of 33

Morgan

 

First Name Middle Name

Debtor 2

Last Name

 

(Spouse, if filing) First Name Middle Name

United States Bankruptcy Court for the:
19-21149

Case number

District of

Last Name

 

 

(A) Check if this is an

 

 

 

 

 

 

Official Form 106A/B

 

amended filing

Schedule A/B: Property 12115

 

In each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

EEE vescrine Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

CQ] No. Go to Part 2.
wi Yes. Where is the property?

41, 9102 Hillen Road

 

Street address, if available, or other description

 

 

 

Baltimore Md 21239
City State ZIP Code
County

If you own or have more than one, list here:

1.2.

 

Street address, if available, or other description

 

 

City State ZIP Code

 

County

What is the property? Check all that apply.
Pe Single-family home
(2 Duplex or multi-unit building

Do not deduct secured claims or-exemptions. Put
the amount of any secured ‘claims on. Schedule D:
Creditors Who Have Claims Secured by. Property.

LY Condominium or cooperative Current value ofthe Current value of the

 

() Manufactured or mobile home entire property? portion you own?
Q) Lang $ 110,000.00 s 110,000.00
QC) investment property

(J Timeshare Describe the nature of your ownership
0 other interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

Wd Debtor 1 only

QC] Debtor 2 only

Q) Debtor 1 and Debtor 2 only

Q) at least one of the debtors and another

 

() Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

What is the property? Check ail that apply.
Q Single-family home
J Duplex or multi-unit building

Do not deduct secured daims or exemptions. Put
the amount of-any sécured daims of Schedule D:
Creditors Who Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

Q) condominium or cooperative
U) Manufactured or mobile home

 

Q) Land $ $
CJ Investment property ; ;
C) Timeshare Describe the nature of your ownership

interest (such as fee simple, tenancy by

LI other the entireties, or a life estate), if known.

Who has an interest in the property? Check one.

 

 

C) Debtor 4 only

C) Debtor 2 only

C2] Debtor 1 and Debtor 2 only

() At least one of the debtors and another

L) check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

Official Form 106A/B

Schedule A/B: Property page 1

 

 
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Debtor 1 Tobie Jo Morgan Case number (if known), 19-21149
First Name Middle Name Last Name
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
Single-family h the amount of any secured claims on Schedule D:
1.3, ingle-family home Creditors Who Have Claims Secured by Property.
Street address, if available, or other description Q Duplex or multi-unit building
UO) condominium or cooperative Current value of the Current value of the
() Manufactured or mobile home entire property? portion you own?
) Lana § §
UL) Investment property
City State. zip Code [J Timeshare Describe the nature of your ownership
Q interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
LY Debtor 1 only
County L) Debtor 2 only
U) Debtor 1 and Debtor 2 only CQ) Check if this is community property
‘ (CJ At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number: :
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 410,000.00
you have attached for Part 1. Write that number here, .................:::cseeesseeesseteneeneereteeneereeeeenenenne renee eee e nen esate > Tt

 

 

 

 

 

 

 

 

 

| Part 2: | Describe Your Vehicles

LI No
wi Yes
3.1. Make: Toyota
Model: Camry
Year: 2018
38,0000

Approximate mileage:

Other information:

 

 

 

 

If you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

 

 

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Who has an interest in the property? Check one.
i Debtor 1 only

U) Debtor 2 only

CI Debtor 1 and Debtor 2 only

(} At least one of the debtors and another

(J Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
Q) Debtor 1 only

QC) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

QQ) Check if this is community property (see
instructions)

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

$20,000.00 ¢ 20,000.00

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

Current value ofthe Current value of the

entire property? portion you own?

 

 

Official. Form 106A/B

Schedule A/B: Property

page 2

 

 

 
 

 

 

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Debtor 1 Tobie Jo Morgan Case number (ifknown) 19-21149
First Name Middle Name
3.3. Make: Who has an interest in the property? Check one. —_ 9 not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:
Model: CY Debtor 1 only Creditors Who Have Claims Secured by Property.
vear Q) Debtor 2 only
ear:

Approximate mileage:

Other information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Q) Debtor 1 and Debtor 2 only
C2) At teast one of the debtors and another

UO) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CI Debtor 1 only

(} Debtor 2 only

L) Debtor 1 and Debtor 2 only

( At least one of the debtors and another

() Check if this is community property (see
instructions)

Current value ofthe Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured:daims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

Current value ofthe Current value of the
entire property? portion you own?

_ 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

A) No
Q Yes

4.1. Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

4.2, Make:
Model:
Year:

Other information:

 

 

 

 

5, Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Who has an interest in the property? Check one.
() Debtor 1 only

UL) Debtor 2 only

QC) debtor 1 and Debtor 2 only

() At least one of the debtors and another

Cl check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C3 Debtor 1 only

C3 Debtor 2 only

LL) Debtor 1 and Debtor 2 only

(C] At least one of the debtors and another

QC) Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured: claims on Schedule D:
Creditors Who. Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured daims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims. Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

20,000.00

 

Official Form 106A/B

Schedule A/B: Property

page 3

 

 

 

 

 

 
 

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Tobie Jo

First Name Middle Name

Morgan

Debtor 1 Case number (ifknown), 19-21149

 

Last Name

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

Current value of the
portion you own? :
Do not deduct secured claims |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
LJ No
(2 Yes. Describe......... Stove and Refrigerator $ 100.00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
(J No
4 Yes. Describe.......... cell phone $ 300.00
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects,
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
\ No
LJ Yes. Describe.......... $
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
bd No
L) Yes. Describe.......... $
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
(A No
LJ Yes. Describe. ......... $
11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
CJ No
J Yes. Describe........... clothes and shoes $ 400.00
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
iG Ne 4,000.00
M4 Yes. Describe. ......... wedding rin ! watch $US
_ 13.Non-farm animals
Examples: Dogs, cats, birds, horses
b4 No
LJ Yes. Describe. ......... $
14. Any other personal and household items you did not already list, including any health aids you did not list
\4 No
UL) Yes. Give specific $
information. .............

 

 

_ 15, Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that mummber Were ooo... ceccssssesesssssssescssssssseccsssssecssonsusneceessnnsneceacesiteseenaneessensntssssanveseessunsceessuanaeeersnsseceecusass >

 

 

s__ 1,800.00.

 

 

 

Official Form 106A/B Schedule A/B: Property

page 4

 

 

 

 

 
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Debtor 1 Tobie Jo Morgan Case number (if known), 19-21149
First Name Middle Name Last Name
ea Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
- 16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
VW No
QO VS coccccccccccsssceccssenececesscosecesscneevesenteceassansacetsreeessssecacsaseas eensensepseesansnscssstassaseas eed cbessnssaeanecanaeeerensueeaaaneanesseegenee Cash: coocccccccccesecsscsves $
17.Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
Ql No
WD Yes wesc Institution name:
17.1. Checking account: $. 20.00
17.2. Checking account: $
17.3. Savings account: $ 5.00
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6, Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $
18.Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
No
CD Yes wisn institution or issuer name:
$.
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
a No Name of entity: % of ownership:
LJ Yes. Give specific 0% %
information about 0
them.............. 0% % $
0% %

 

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page §

 
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Debtor 1 Tobie Jo Morgan Case number (known _19-21149

First Name Middle Name Last Name

 

 

 

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

QW No

LJ Yes. Give specific Issuer name:
information about

 

 

 

_ 21, Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 No
CY Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $.
Keogh: $
Additional account: $
Additional account: $
22.Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others .

CO) No

DD Ves iceccseesstisee Institution name or individual:
Electric: BG&E $ 0.00
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $ 0.00
Water: $ 0.00
Rented furniture: $
Other: $

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
WZ No
i (-\ Issuer name and description:
$
$

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 6

 

 

 

 

 

 
 

 

 

 

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Debtor 1 Tobie Jo Morgan Case number (ifknown) 19-21149

First Name Middle Name Last Name

 

 

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
WZ No
Cd Yes eee ccsceseseeteeee

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

C2 No

LJ Yes. Give specific
information about them. ... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

WI No

LJ} Yes. Give specific
information about them. ... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

1 No

LJ Yes. Give specific

 

 

 

 

information about them. ... $
Money or property owed to you? Current:value of the
portion you own?
Do not deduct secured ~
claims.or.exemptions.

_ 28.Tax refunds owed to you

Wi No

L) Yes. Give specific information
about them, including whether
you already filed the returns State:
and the tax years. ......... cece

 

Federal:

Local:

 

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

W No

 

 

 

 

 

L) Yes. Give specific information. .............
Alimony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settlement: $

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
W No
Q) Yes. Give specific information. ..............
$

 

 

 

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 7
 

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Debtor 1 Tobie Jo Morgan Case number (itknown) 19-21149

First Name Middte Name Last Name

 

 

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

WZ No

LJ Yes. Name the insurance company

. v Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

WZ No

QI Yes. Give specific information. .............

 

 

 

 

 

_ 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

2 No

(J Yes. Describe each claim. ... sess.

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

2 No

L) Yes. Describe each claim. ........cc..

 

 

 

 

35. Any financial assets you did not already list

A No

Q) Yes. Give specific information............ $

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here ...... sossscecceseusnsvasseseecessnussseseesanssnonesseesecsnssanaveceessesssssusassesseensnusnsessetssasssessesessesssssussescess > s___—3, 888.60

 

 

 

 

ia Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
WZ No. Go to Part 6.
LI Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims

 

or exemptions:
38. Accounts receivable or commissions you already earned
WZ No
C) Yes. Describe ....... ; b

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

No
LJ Yes. Describe... S

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 8

 

 

 

 
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Debtor 1 Tobie Jo Morgan Case number (if known), 19-21149

First Name Middle Name Last Name

 

 

40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

 

 

 

 

Wi No

CQ) Yes. Describe...... &
_ 41.Inventory
—  WINo

Q) Yes. Describe ..... 5

 

42.Interests in partnerships or joint ventures

Wf No

C) Yes. Describe...

 

 

Name of entity: % of ownership:
% $
% $
% $

 

43.Customer lists, maifing lists, or other compilations
(4 No

U Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

UL] No
L) Yes. Describe. ......

 

 

 

 

44. Any business-related property you did not already list
Wd No

U] Yes. Give specific
information .........

 

 

 

 

 

 

 

 

 

FP F FH Hf HF

 

 

 

_ 45. Add the dollar value of all of your entries from Part 5, inctuding any entries for pages you have attached

$ 0.00
for Part 5. Write that number Were ooo... cssssssesssssescssssssssussssusessssnusersnvecensvenssvecersnsessussssesascersusssesuneranesessesnsseaterensness > —

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmiand, list it in Part 1.

 

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

Ql No. Go to Part 7.
QI Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims

 

 

 

or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
Wl No
CD Ves ccecccsssssssesseeen
$

 

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 9

 

 

 
 

 

IE EEE EE Ee

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Debtor 1 Tobie Jo Morgan Case number (itknown) 19-21149

First Name Middle Name Last Name

 

 

48.Crops—either growing or harvested

i No

LI) Yes. Give specific
information. ............ $

 

 

, 49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No
CDV eS oases
$
50.Farm and fishing supplies, chemicals, and feed
A No
CU VES ccecscseseesseeeen
$
51.Any farm- and commercial fishing-related property you did not already list
No
C) Yes. Give specific
information. ............ $
_ 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0.00
for Part 6. Write that number here oe ccsscssssssesssssssssssssessessecsssssssssesssessensssnusmusesesssessnseseeteceastsssssssssrassuusesesssssasssnsaviesesessstesases > TT
EAE vescrine All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
No
LI Yes. Give specific $
information. ............
54. Add the dollar value of all of your entries from Part 7. Write that number Were oo... ..csccccsecccseccccccccscecsescsvecsasstessssceens > $ 0.00
List the Totals of Each Part of this Form
55. Part 1: Total real estate, Hime 2.0... ecccsescssssesssssssscoseecsssessessusecossecsstesssssusessssvossussesssusesssuarersaaeecsussssssasestansesssuesstusssssunsessagesaseeesssese > §$ 110,000.00
56. Part 2: Total vehicles, line 5 $ 20,000.00
57. Part 3: Total personal and household items, line 15 $ 1,800.00
58. Part 4: Total financial assets, line 36 $. 0.00
59. Part 5: Total business-related property, line 45 $ 0.00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00
61. Part 7: Total other property not listed, line 54 +3 0.00
62. Total personal property. Add lines 56 through 61. «0.0.0.0... $ 1,800.00 Copy personal property total > +*3$ 1,800.00
63. Total of all property on Schedule AB. Add line 55 + line 62. .......sssessscssssesscsessessesessessessssesneesesssssssecsessnssesvstsasenenseaee $ 111,800.00

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 10

 

 

 
 

 

IIE EE EEE

Case 19-21149 Doc16° Filed 09/10/19 Page 13 of 33

Fill in this information to identify your case:

Debtor 4 Tobie Jo Morgan

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of
Case number 19-21149

(If known)

UJ Check if this is an
amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top. of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim.an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

L) You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
QC} You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and fine on Current value ofthe © Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box foreach exemption.
Schedule A/B
Brief
description, ©. ———————-—————-__ §. Os
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description, § ———————__ §. Ls
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief .
description, ©. ——————__—__-__ 8 Os
Line from L) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
CL} No
LI) Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

CY No
QC) Yes

 

 

 

 

 

 

 

 

 

Official Form 106C Schedule C: The Property You Claim as Exempt page 7 of __

 

 
 

 

EEE EE OO EE

Case 19-21149 Doc16 Filed 09/10/19 Page 14 of 33

Debtor 1 Tobie Jo

Morgan

 

First Name Middle Name

Ee Additional Page

Brief description of the property and line

Last Name

Current value of the

Case number (itknown) 19-21149

Amount.of the exemption you claim

 

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

on Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
Brief
description: $ Os
Line from LJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Cis
Line from L) 100% of fair market value, up to
Schedule A/B: ———- any applicable statutory limit
Brief
description: $ Os
Line from ©) 100% of fair market value, up to
Schedule A/B:. ——— any applicable statutory limit
Brief
description: $ Os
Line from CJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from CJ 100% of fair market value, up to
Schedule A/B: ————- any applicable statutory limit
Brief
description: $ is
Line from LJ 100% of fair market value, up to
Schedule A/B: ~___ any applicable statutory limit
Brief
description: § C$
Line from L} 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os .
Line from C) 100% of fair market value, up to
Schedule A/B: ——— any applicable statutory limit
Brief
description: 5 Os
Line from LL) 100% of fair market value, up to
Schedule A/B: ——— any applicable statutory limit
Brief
description: $ Os
Line from CL} 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from LJ 100% of fair market value, up to
Schedule A/B: ——— any applicable statutory limit
Brief
description: $ Ls
Line from CL) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

 

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 2. of __

 

 

 

 

 

 

 

 
 

Case 19-21149 Doc16 Filed 09/10/19 Page 15 of 33

Fillin this information to identify your case:

Debtor 1

 

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: District of

 

Case number
(If known}

 

 

Official Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

LJ Check if this is an
amended filing

12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

(C} No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

Yes. Fill in all of the information below.

io List All Secured Claims

2. List all secured claims. if a creditor has more than one secured claim, list the creditor separately amount of claim Value of collate

for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditor's. name.

 

Column A

       
  
   

Column Be

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[ 2.1) Describe the property that secures the claim: $ 110,000.00 $ 110,000.00 $ 0.00
Creditor's Name
Rushmore Loan House
Number Street
As of the date you file, the claim is: Check all that apply.
| Contingent
() Unliquidatea
City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
WA Debtor 1 only @ An agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
LJ Debtor 1 and Debtor 2 only O Statutory lien (such as tax lien, mechanic’s lien)
C1) Atleast one of the debtors and another CL) Judgment lien from a lawsuit
Other (including a right to offset)
Q
O) Check if this claim relates to a
community debt
Date debt was incurred 06/01/020C Last4 digits of account number
| 2.2] Capital One Auto Finance Describe the property that secures the claim: $ 20,000.00 $ 20,000.00 $ 1.00
Creditor’s Name
Car Loan
Number Street
As of the date you file, the claim is: Check all that apply.
wf Contingent
C) unliquidated
City State ZIP Code oO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
WH Debtor 1 only UT An agreement you made (such as mortgage or secured
C] Debtor 2 only car loan)
UO Debtor 1 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
C} Atleast one of the debtors and another CL] Judgment lien from a lawsuit
C) Other (including a right to offset)
Q) Check if this claim relates to a
community debt
_Date debt was incurred 11/20/0201 Last 4 digits of account number _ _
Add the dollar value of your entries in Column A on this page. Write that number here: 130,000.00 |
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1of__
 

 

Case 19-21149 Doc16 Filed 09/10/19 Page 16 of 33

Debtor 1

 

First Name Middle Name

Last Name

Case number (if known)

 

Additional Page

 
      

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

ett : : amine wrt Value
After listing any entries on this page, number them beginning with 2.3, followed ey liens piel
by 2.4, and so forth. claim Man
| Describe the property that secures the claim: $ $ $
Creditor's Name
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code O) Unliquidated
U Disputed
Who owes the debt? Check one. Nature of lien, Check all that apply.
O debtor 1 only (J An agreement you made (such as mortgage or secured
(2 Debtor 2 only car loan)
O) Debtor 1 and Debtor 2 only QO Statutory lien (such as tax lien, mechanic's lien)
CI Atleast one of the debtors and another CJ) Judgment lien from a fawsuit
C1 Other (including a right to offset)
C) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number
L__] Describe the property that secures the claim: $. $ $
Creditor’s Name
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
C) unliquidated
City State ZIP Code Q) disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 1 only U) An agreement you made (such as mortgage or secured
Q Debtor 2 only car loan)
(J Debtor 1 and Debtor 2 only CI) Statutory lien (such as tax lien, mechanic's lien)
CJ Atleast one of the debtors and another OQ Judgment lien from a lawsuit
CO Check if this claim relates to a C) other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number_
| Describe the property that secures the claim: $ $ $
Creditor's Name
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code Q) unliquidated
Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
UL] Debtor 1 only CJ An agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
C2 Debtor 1 and Debtor 2 only O) Statutory lien (such as tax lien, mechanic’s lien)
C) Atleast one of the debtors and another CL] Judgment lien from a lawsuit
C] other (including a right to offset)
CQ Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number =
Add the dollar value of your entries in Column A on-this page. Write that number here:
If this is the last page of your form, add the dollar value totais from all pages. 130,000.00
-orvunmaVrite that number here: —_—
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page. of__ }

 
Case 19-21149 Doc16 Filed 09/10/19 Page 17 of 33

Debtor 4 Case number (ifknown)
First Name Middle Name Last Name

| Part 2: | List Others to Be Notified for a Debt That You Already Listed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if.a:collection
agency is trying to collect from you for a debt you owe to.someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you fisted in Part 4, list the additional creditors here. If you do not have additional persons to
he notified for any debts in Part 1, do not fill out or submit this page.
| | On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_
Number Street
City State ZIP Code
| | On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_
Number Street
City State ZIP Code
| | On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_
Number Street
City State ZIP Code
| | On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_
Number Street
City State ZIP Code
| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number
Number Street
City State ZIP Code
| | On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_
Number Street
City State ZIP Code

 

 

Official Form 106D

Part 2 of Schedule D: Creditors Who Have Claims Secured by Property

 

page. of_

 
Case 19-21149 Doc16 Filed 09/10/19 Page 18 of 33

Fill in this information to identify your case:

Debtor 1

 

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: District of

LL) Check if this is an

Case number amended filing

(If known)

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

Ea List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?

Vd No. Go to Part 2.
) Yes.

 

 

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim itis. If a aim has both priority. and nonpriority amounts, list that claim here. and:show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim; list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

_ Total ciaim”
2.1
Last 4 digits of account number sl S $, $,
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
City State ZIP Code U1 Contingent
(2 unliquidated
Who incurred the debt? Check one. O) disputed
CJ Debtor 1 only
CQ) Debtor 2 only Type of PRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only CJ Domestic support obligations
At least one of the debtors and another C] taxes and certain other debts you owe the government
C) Check if this claim is fora community debt C Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
O) No CI Other. Specify
C) Yes
2.2 |

 

Priority Creditor's Name

 

Number Street

 

 

City State

Who incurred the debt? Check one.

(2 Debtor 1 only

C2 Debtor 2 only

C2] Debtor 1 and Debtor 2 only

(2 Atleast one of the debtors and another

ZIP Code

CJ Check if this claim is for a community debt

Is the claim subject to offset?
Q) No
C) Yes

 

Last 4 digits of accountnumber __§>§ __s og $ $

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
Q Contingent

CQ Untiquidated

Q Disputed

Type of PRIORITY unsecured claim:
C Domestic support obligations
() Taxes and certain other debts you owe the government

C] Claims for death or personal injury while you were
intoxicated

C3 other. Specify

 

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 1of_
Case 19-21149 Doc16 Filed 09/10/19 Page 19 of 33

Debtor 1

Case number (ifknown),

 

First Name Middle Name Last Name

ao Your PRIORITY Unsecured Claims — Continuation Page

 

L]

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and’so forth.

 

Priority Creditor’s Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

OC) Debtor 1 only
C) Debtor 2 only

Last 4 digits of account number ____ $ $. $

 

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

C Contingent
(2 Unliquidatea
QO Disputed

Type of PRIORITY unsecured claim:

 

 

 

 

 

 

 

 

 

 

Priority Creditor’s Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

CI Debtor 1 only

C2 Debtor 2 only

CJ Debtor 1 and Debtor 2 only

(C) At least one of the debtors and another

L] Check if this claim is for a community debt

Is the claim subject to offset?

C) Ne
C) Yes

 

 

CO Debtor 1 and Debtor 2 ont C) Domestic support obligations
Q ne ne an i ° en y d anoth () Taxes and certain other debts you owe the govemment
east one of ine debiors and another CJ Claims for death or personal injury while you were
C) Check if this claim is for a community debt intoxicated
C2 other. Specify
Is the claim subject to offset?
C] No
C) Yes
Last 4 digits ofaccountnumber_ ss —itiéCS: $, $,
Priority Creditor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
GO Contingent
City State ZIP Code QC] Untiquidated
Q Disputed
Who incurred the debt? Check one.
C2 Debtor 1 only Type of PRIORITY unsecured claim:
a chen my btor 2 on! C) Domestic support obligations
Q ep tor 1 and Denior «only 7 O) Taxes and certain other debts you owe the govemment
Atleast one of the debtors and another C) claims for death or personal injury while you were
(] Check if this claim is for a community debt intoxicated
C) other. Specify
Is the claim subject to offset?
C] No
Q) Yes
Last 4 digits ofaccountnumber_ ss CS, $, $,

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

a Contingent
QO) unliquidated
Q Disputed

Type of PRIORITY unsecured claim:

C) Domestic support obligations
C] Taxes and certain other debts you owe the govemment

C) Claims for death or personal injury while you were
intoxicated

 

C2 other. Specify

 

 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

page __ of
Case 19-21149 Doc16

Debtor 1

 

First Name Middle Name Last Name

| Part 2: | List All of Your NONPRIORITY Unsecured Claims

Filed 09/10/19 Page 20 of 33

Case number (it known)

 

3. Do any creditors have nonpriority unsecured claims against you?

Yes

claims fill out the Continuation Page of Part 2.

 

 

 

LI No. You have nothing to report in this part. Submit this form to the court with your other schedules.

 

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type. of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

QO] Debtor 1 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

C] Atleast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?
CJ] no
UO) Yes

 

Q Contingent
QO) unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

C1 Student loans

QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

LJ other. Specify

 

41
Last 4 digits of account number
Nonpriority Creditor's Name §,
When was the debt incurred?
Number Street
City State ZIP Code As of the date you file, the claim is: Check all that apply.
C) Contingent
Who incurred the debt? Check one. Q) unliquidated
Cl) Debtor 1 only a Disputed
C) Debtor 2 only
(J Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
() Atleast one of the debtors and another C2 Student loans
O Check if this claim is for a community debt QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? ~ (0 Debts to pension or profit-sharing plans, and other similar debts
OC) No Cd other. Specify
C) Yes
2 Last 4 digits of account number $
Nonpriority Creditor’s Name When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
City State ZIP Code O Contingent
Who incurred the debt? Check one. 1 unliquidated
Cl Debtor 1 only Q Disputed
CI Debtor 2 only .
C1 debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
CI Atleast one of the debtors and another UJ student loans
CO) Obligations arising out of a separation agreement or divorce
QO) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? C} Debts to pension or profit-sharing plans, and other similar debts
No CJ other. Specify
Q) Yes
4.3 aoe
Last 4 digits of account number
Nonpriority Creditor’s Name . $
When was the debt incurred?
Number Street
iy Sate TP Code As of the date you file, the claim is: Check all that apply.

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

page __of_
 

 

 

 

Case 19-21149 Doc16 Filed 09/10/19 Page 21 of 33

Debtor 1

 

First Name Middle Name Last Name

Case number (if known).

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

Nonpriority Creditors Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

C2 Debtor 1 only

C) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

(CJ Atleast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

CI No
CI Yes

After listing any entries on this. page, number them beginning with 4.4, followed by 4.5, and so forth.

Last 4 digits of account number ___

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
) unliquidated
O Disputed

Type of NONPRIORITY unsecured claim:

C2 Student loans

Q) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C2 debts to pension or profit-sharing plans, and other similar debts
CU) other. Specify.

 

 

 

Nonpriority Creditor’s Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

QO] Debtor 4 only

0) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

(J Atleast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

CI No
C) ves

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
) Unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

() Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CU) Debts to pension or profit-sharing plans, and other similar debts
C) other. Specify.

 

 

 

Nonpriority Creditor’s Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.
Q) Debtor 1 only
C] Debtor 2 only
~ (2 Debtor 1 and Debtor 2 only
(} Atleast one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?

CI No
UI Yes

Last 4 digits of account number ___

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
Q) unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

( Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

OC) Debts to pension or profit-sharing plans, and other similar debts

C) other. Specify

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 19-21149 Doc16 Filed 09/10/19 Page 22 of 33
Debtor 1 Case number (if known),
First Name Middle Name Last Name
List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): CJ Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): ) Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street L) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
on tll, State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): UO) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
- Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): CO Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): () Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
T On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street . . se
U Part 2: Creditors with Nonpriority Unsecured
Claims
Giy State TIP Code Last 4 digits of accountnumber_
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page _of__

 

 
 

Debtor 1

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First Name

ear | Add the Amounts for Each Type of Unsecured Claim

Middle Name Last Name

Case number (if known),

 

Total claims
from Part 1

Total claims
from Part 2

 

6a.

Domestic support obligations

. Taxes and certain other debts you owe the

government

6c. Claims for death or personal injury while you were

6d.

6e.

6h.

6i.

intoxicated

Other. Add ail other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6e.

6f.

6g.

6h.

6i.

6j.

6. Total the amounts of certain types of unsecured claims. This information is } for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claim

 

 

 

 

Total claim

 

 

 

 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

page __

of

 
Case 19-21149 Doc16 Filed 09/10/19

Fillin this information to identify your case:

Debtor Tobie JO Morgan

First Name Middle Name Last Name

 

Debtor 2
(Spouse If filing) First Name Middle Name

 

United States Bankruptcy Court for the: District of

Case number 1719-21149

(If known)

 

 

 

Official Form 106G

 

 

 

Page 24 of 33

Schedule G: Executory Contracts and Unexpired Leases

LJ) Check if this is an
amended filing

12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any

additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

| No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
C1 Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and

unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1)

 

Name

 

Number Street

 

City State ZIP Code

 

2.2

 

Name

 

Number Street

 

City State ZIP Code
2.3

 

Name

 

Number Street

 

City State ZIP Code

aircon

 

Name

 

Number Street

 

City State rl Code

N
sc Dc

 

Name

 

Number Street

 

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases

 

page 1of____
 

 

EEE

Case 19-21149 Doc16 Filed 09/10/19 Page 25 of 33

Debtor1 Tobie JO Morgan Case number (rinown, 19-21149

First Name Middle Name Last Name

 

 

a Additional Page if You Have More Contracts or Leases

22

Person or company with whom you have the.contract or lease / What the contract or lease is for

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page of

 

 
 

 

EEE EEE _ iO OE EEE EE

Case 19-21149 Doc16 Filed 09/10/19 Page 26 of 33

Fillin this information to identify your case:

Debtor1 Tobie Jo Morgan

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of
Case number _19-21149

(If known)

 

Q) Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 125

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

a No
C] Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

wf No. Go to line 3.
Q) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

Q No

Q) Yes. In which community state or territory did you live? . Fillin the name and current address of that person. |

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

~ Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
CU] Schedule D, line
Name
CI Schedule E/F, line
Number Street Q) Schedule G, line
City State ZIP Code
3.2
QC] Schedule D, line
Name
O) Schedule E/F, tine
Number Street QC) Schedule G, line
City . State ZIP Code
3.3
CQ) Schedule D, line
Name
O) Schedule E/F, line
Number Street ) Schedule G, line
City State ZIP Code

 

 

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1of___

 
 

 

 

Oe EE OOO OO EE

Case 19-21149 Doc16 Filed 09/10/19 Page 27 of 33

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Tobie Jo Morgan Case number (itknown) 19-21149
First Name Middle Name Last Name
po Additional Page to List More Codebtors
Column.1: Your codebtor Column 2: The creditor to whom you owe the debt
5] Check.all schedules-that apply:
3.
7 OI Schedule D, line
ame .
() Schedule E/F, line
Number Street CJ Schedule G, line
City State ZIP Code
P|
QO) Schedule D, line
Name
() Schedule E/F, line
Number Street C) Schedule G, line
City State ZIP Code
a
C) Schedule D, line
Name
QO) Schedule E/F, line
Number Street CO) Schedule G, line
City State ZIP Code
a
C) Schedule D, line
Name
(] Schedule E/F, line
Number Street CL) Schedule G, line
ity, State ZIP Code
El
QO) Schedule D, line
Name _
U} Schedule E/F, line
Number Street QC) Schedule G, line
_Gity State ZIP Code
r
C] Schedule D, line
Name
QC] Schedule E/F, tine
Number Street () Schedule G, line
City : State ZIP Code
| = U Schedule D, line
ame ee
QO) Schedule E/F, line
Number Street CI Schedule G, line
City State ZIP Code
OC) Schedule D, line
Name ————
QC) Schedule E/F, line
Number Street CJ Schedule G, line
City State ZIP Code

 

 

 

Official Form 106H Schedule H: Your Codebtors page_of__

 
- Case 19-21149 Doc16 Filed 09/10/19 Page 28 of 33

Fillin this information to identify your case:

Debtor1 Tobie Jo Morgan

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

Case number _19-21149 Check if this is:

{If known)
LJ An amended filing

LJ A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 MT DDT YYW
Schedule I: Your Income 4215

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Ea Describe Employment

1. Fillin your employment

 

 

 

 

 

information. / Debtor 1 Debtor 2.or non-filing. spouse
If you have more than one job,

attach a separate page with

information about additional Employment status vi Employed CL) Employed

employers. CI Not employed LJ] Not employed

Include part-time, seasonal, or
self-employed work. . :

poy Occupation Paratransit Driver
Occupation may include student

or homemaker, if it applies.
Employer’s name First Transit

Employer's address 2600 Sisson Street

 

 

 

 

Number Street Number Street

Baltimore Md 21216

City State ZIP Code City State ZIP Code
How long employed there? 4mos 4mos

Ea Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

\f you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

 

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 1,762.70 $
3. Estimate and list monthly overtime pay. 3. +$ 400.00 + $
4. Calculate gross income. Add line 2 + line 3. 4. $_ 2,162.70 $

 

 

 

 

 

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1

 
 

 

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Debtor 1 Tobie Jo Morgan Case number (if known), 19-21149
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-fili
Copy lime 4 ere on... eeceeeeeceecccccessssessessesesssssseseneesssescsucanscsessesaeesesaseneeneesseenees >4. $_ 2,162.70 $
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions fa. § 71.99 $
5b. Mandatory contributions for retirement plans 5b.  $ 0.00 $
5c. Voluntary contributions for retirement plans 5. oS 0.00 $
5d. Required repayments of retirement fund loans 5d. $ 0.00 $
5e. Insurance Se. §$ 0.00 $
5f. Domestic support obligations 5f. $ 0.00 $
5g. Union dues 5g. s___ 20.00. $
5h. Other deductions. Specify: 5h. +$ 0.00 +4
6. Add the payroll deductions. Add lines 5a+ 5b+ 5c+5d+5e+5f+5g+5h. 6. § 91.99 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $. 2,070.71 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0.00 $
monthly net income. 8a. —r
8b. Interest and dividends 8b. § 0.00 $
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ 0.00 $
settlement, and property settlement. 8c. ——
8d. Unemployment compensation 8d. § 0.00 $
8e. Social Security 8e. § 0.00 $
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: sf $0.00. $
8g. Pension or retirement income 8g. § 0.00 $
8h. Other monthly income. Specify: 8h. + $ 0.00 +3
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h. 9.1] $ 0.00 $
10. Calculate monthly income. Add line 7 + line 9. $ 2,070.71 | + $ = |s
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. ————-
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: W.+# $ 0.00
12, Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 2070.71
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. So VINE
Combined
monthly income
13.Do you expect an increase or decrease within the year after you file this form?
CJ No.
Md Yes. Expiain: [Looking for better paying job

 

 

 

 

 

Official Form 1061 Schedule I: Your income page 2
Case 19-21149 Doc16 Filed 09/10/19 Page 30 of 33

Fillin this information to identify your case:

Debtor 1 Tobie Jo Morgan neuen:
First Name Middle Name ie Check if this Is:

CJ An amended filing

LJ A supplement showing postpetition chapter 13
expenses as of the following date:

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

Case number 19-21149

(if knawn) MM / DD/ YYYY

 

 

Official Form 106J
Schedule J: Your Expenses 42115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part: | Describe Your Household

1. Is this a joint case?

 

wf No. Go to line 2.
L) Yes. Does Debtor 2 live in a separate household?

L] No
C) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

2. Do you have dependents? W No
Dependent's relationship to Dependent’s Does dependent live
Do not list Debtor 1 and (J Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?

 

 

Debtor 2. each dependent ............... eee

, C) No
Do not state the dependents u
names. Yes

C) No
UL) Yes

UL No
Q Yes

OQ) No
Q) Yes

Q) No
QO Yes

 

 

 

 

 

 

 

 

3. Do your expenses include | No
expenses of people other than a
yourself and your dependents? Yes

 

ae Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and 950.00
any rent for the ground or lot. 4. § -

If not included in tine 4:

4a. Real estate taxes ‘ 4a. $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4. §$ 0.00
4d. Homeowner's association or condominium dues 4d. $. 0.00

Official Form 106J , Schedule J: Your Expenses page 1

 
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Debtor 4 Tobie Jo Morgan

10.
41.

12.

13.

14,

15.

17.

18.

19.

20.

Official Form 106J

 

First Name Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and chiidren’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2

17c. Other. Specify:

 

17d. Other. Specify:

 

Case number (irknown_19-21149

6a.
6b.
6c,

6d.

10.

11.

12.

13.

14.

15a.

15b.

15¢.

15d.

16.

17a.

17b.

17.

17d.

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule |, Your income (Official Form 106)).

Other payments you make to support others who do not live with you.
Specify:

 

18,

19.

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner’s, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner’s association or condominium dues

Schedule J: Your Expenses

20a.

20b.

20c.

20d.
20e.

Your. expenses

a PA fF FH F# FH HF

RA AP ww

ff fF #

fA Ff Ff Ff ff

 

0.00

150.00
100.00

160.00
0.00

150.00
0.00
40.00
20.00
0.00

60.00

0.00
0.00

0.00
0.00

0.00
0.00

0.00

638.69
0.00
0.00
0.00

0.00

0.00

0.00

0.00

0.00

0.00
0.00

page 2
Case 19-21149

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Debtor 1 Tobie Jo Morgan Case number (itknown) 19-21149
First Name Middle Name Last Name
21. Other. Specify: 21. +5 0.00
22. Calculate your monthly expenses.
22a. Add lines 4 through 21. 22a. | ¢ 1,318.69
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. | § 0.00
22c. Add line 22a and 22b. The result is your monthly expenses. 22¢. $ 1,318.69

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |. 23a.

 

 

23b. Copy your monthly expenses from line 22c above. 23b. —¢

23c. Subtract your monthly expenses from your monthly income.

The result is your monthly net income.

2,070.71

1,318.69

 

23c.

 

752.02

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

LY No.

 

bl Yes. Explain here: | expect my mortgage to decrease because of a modification.

 

 

Official Form 106J

Schedule J: Your Expenses

page 3

 

 

 
 

I  ___ OE

Case 19-21149 Doc16 Filed 09/10/19 Page 33 of 33

Fill in this information to identify your case:

Debtor 1 Tobie Jo Morgan

First Name Middte Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of
Case number _19-21149

(If known)

L) Check if this is an
amended filing

  

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42/15

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?
Gf No

Q Yes. Name of person . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

etd be x

 

 

 

 

 

 

 

 

 

 

 

sinature of DebtoA ' Signature of Debtor 2
Datel? id Zé, Date
MM/ DD 7 YYYY MM/ DD / YYYY
Official Form 106Dec Declaration About an Individual Debtor's Schedules
